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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

                                         CLERK'S MINUTES


 CASE NO.          8:21-cv-839-SDM-AAS                   DATE:                 June 11, 2021
 HONORABLE ANTHONY E. PORCELLI
 STATE OF FLORIDA                                        PLAINTIFF=S COUNSEL
                Plaintiff,                               James Percival and Anita Patel
 v.
                                                         DEFENSE COUNSEL
 XAVIER BECERRA et al                                    Amy Powell
               Defendant
 COURT REPORTER:           N/A                           DEPUTY CLERK:          Lynne Vito
 TOTAL: 2 hours                                          COURTROOM:            10A

PROCEEDINGS:        SETTLEMENT CONFERENCE HELD

Despite the party’s good faith and concerted efforts, the settlement discussions have concluded and the
parties have reached an impasse.
